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AO 93 (Rev. 11/13) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of South Dakota
          In the Matter of the Search of

  4 SD Cards and 1 Flash drive recovered from ) Case No. -^ •' 1^"Tn | ~ 13^
  Juan Resales' residence and currently in the )
  custody of the Rapid City Police Department )



                                                SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer


           An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of South Dakota (identify the person or describe the properly to be searched
and give its location)'.


4 SD Cards and 1 Flash drive recovered from Juan Resales' residence and currently in the custody of the Rapid
City Police Department

           I find that the affidavit, or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal (identify the person or describe the property to be seized):


           Evidence of a crime in violation of 18 U.S.C. § 922(g) and 21 U.S.C. § 841.


           I find that the affidavit, or any recorded testimony, establishes probable cause to search and seize the person or
property.


          YOU ARE COMMANDED to execute this warrant on or before /^Ct^^ 5, ^.ff/<f ^ ^ exceed 14 days)

        in the daytime 6:00 a.m. to 10 p.m. D at any time in the day or night because good cause has been established.


          Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
the place where the property was taken.


          The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to Daneta Wollmann
                                                                                      (United States Magistrate Judge)


        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or
whose property, will be searched or seized (check the appropriate box)
    D for _ days (not to exceed 30). D until, the facts justifying, the later specific date of_.


    D I find that good cause has been established to authorize the officer executing this warrant to not provide notice prior
to the execution of the search warrant, i.e., "no knock".


Date and time issued: 11^<^/^1^ €jf-'/OA^.
                                                                                           Judge's signature



City and state: Rapid City, SD _ Daneta Wollmann, U.S. Magistrate
                                                                                           Printed name and title



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  AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)




                                                                Return

Case No.:                              Date and time warrant executed:       Copy of warrant and inventory left with:
S':|^-r*?'j - 132
Inventory made in the presence of:


Inventory of the property taken and name of any person(s) seized:




                                                             Certification

          I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
 to the designated judge.




Date:
                                                                                 Executing officer's signature




                                                                                   Printed name and title
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                                   UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District of South Dakota
             In the Matter of the Search of: )
                                              ) Case No. S '. I ^ - m'» - I 3
 4 SD Cards and 1 Flash drive recovered from )
 Juan Rosales' residence and currently in the )
 custody of the Rapid City Police Department )



                                       APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer, request a search warrant and state under penalty of perjury that I have reason
to believe that on the following person or property (identify the person or describe the property to be searched and give its location):

4 SD Cards and 1 Flash drive recovered from Juan Resales' residence and currently in the custody of the Rapid
City Police Department

located in the District of South Dakota there is now concealed (identify the person or describe the property to be seized):


4 SD Cards and 1 Flash drive recovered from Juan Resales' residence and currently in the custody of the Rapid
City Police Department

         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.


         The search is related to a violation of:


                   Code Section Offense Description
         18 U.S.C. § 922(g)(l) Possession of a Firearm by a Prohibited Person
         21 U.S.C. § 841 Distribution of a Controlled Substance

         The application is based on these facts:
              Continued on the attached affidavit, which is incorporated by reference.
             Delayed notice of_ days (give exact ending date if more than 30 days: _) is requested
         under 18 U.S.C. § 3103 a, the basis of which is set forth on the attached sheet.
             Your applicant requests that no notice be given prior to the execution of the search warrant, i.e., "no knock",
        the basis of which is set forth in the attached affidavit.
         D Your applicant requests authorization to serve the search warrant any time day or night pursuant to Fed. R.
         Crim. P. 41(e)(2)(A)(ii), the basis of which is set forth in the att^ked affidavit.


                                                                                              Apyficant 's signature


                                                                                          Chad Sayles, ATF Task Force
                                                                                              Printed name and title
Sworn to before me and: ^\ signed in my presence.
                              D submitted, attested to, and acknowledged by relicjJple electronic means.


Date ., //'-?/-^
                                                                                                        Judge's signature


City and state: Rapid City, SD _ _Daneta Wollmann, U.S. Magistrate
                                                                                                        Printed name and title
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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION



                                             CASE NUMBER: S'.l^-m'l-^S
  IN THE MATTER OF THE SEARCH OF:
  4 SD Cards and 1 Flash drive recovered AFFIDAVIT IN SUPPORT OF
  fr^JTnRlsalestre?ldenc^aSd^. SEARCH WARRANT
            in me cusl
  City Poirce'DepartmenT "' "~ """" APPLICATION



State of South Dakota )
                         ) ss
County of Pennington )

      I, Chad Sayles, being duly sworn, states as follows:


      1. I am a Detective with the Rapid City Police Department, and

currently assigned to the Bureau of Alcohol, Tobacco, Firearms, and Explosives


(ATF) as a Task Force Officer (TFO). I have been employed with the Rapid City

Police Department since 2009 and assigned to the ATF Task Force since 2016.

Prior to my employment with the Rapid City Police Department, I was employed

with the South Dakota Game Fish and Parks as a Conservation Officer. During

that time, I have attended and completed a twelve-week basic Law Enforcement


certification course in South Dakota. I have also attended and completed a one-


week ATF Task Force Officer training in Washington D.C. I attended Black Hills

State University and graduated with a Bachelor's Degree in Science. Currently,


my responsibilities are to investigate the use, transportation, distribution, and


manufacture of illegal drugs and firearms. I have also interviewed several
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drug/firearms users and dealers regarding the manner in which they conduct

business and have become familiar with their techniques.


      2. The information set forth below is based upon my knowledge of an

investigation conducted by the Bureau of Alcohol, Tobacco, Firearms, and


Explosives, and the investigation of other law enforcement agents and officers


including, but not limited to, South Dakota Division of Criminal Investigation

(DCI), the Rapid City Police Department, and the Pennington County Sheriff's

Office. I have not included every fact obtained pursuant to this investigation,

but have set forth those facts that I believe are essential to establish the

necessary probable cause for the criminal complaint. I have not omitted any


material fact relevant to the consideration of probable cause for the location and

items described below.


                     ITEMS TO BE SEARCHED FOR AND SEIZED:


      3. I make this affidavit in support of an application for a search warrant

for four (4) SD Cards and one (1) Flash Drive seized from the residence belonging

to Juan Resales during the execution of a search on June 20, 2019, and


currently in the custody of the Rapid City Police Department. The SD Cards and

Flash Drive were located inside a locked SentrySafe within a bedroom of the

residence.


      4. I submit there is probable cause to search for evidence, fruits, and


instrumentalities of the a violation of criminal law, including 18 U.S.C. §

922(g)(l) and 21 U.S.C. § 841.
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      5. The applied-for warrant would authorize the examination of the SD

Cards and Flash Drive for the purpose of identifying electronically stored data.

                                 DEFINITIONS

      6. Based on my training and experience, I use the following technical


terms to convey the following meanings:


         a. Computer Hardware: The term "computer hardware" means all


            equipment that can receive, capture, collect, analyze, create,


            display, convert, store, conceal, or transmit electronic, magnetic, or


            similar computer impulses or data. Computer hardware includes


            any data-processing devices (including, but not limited to, central

            processing units, internal and peripheral storage devices such as


            fixed disks, external hard drives, floppy disk drives and diskettes,

            and other memory storage devices such as video gaming systems,


            electronic music playing devices, and mobile phones); peripheral

            input/output devices (including, but not limited to, keyboards,

            printers, video display monitors, modems, routers, scanners and


            related communications devices such as cables and connections),


            as well as any devices, mechanisms, or parts that can be used to


            restrict access to computer hardware (including, but not limited to,


            physical keys and locks).

         b. Storage Medium: The term "storage medium" refers to any physical


            object upon which computer data can be recorded. Examples
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            include hard disks, RAM, floppy disks, flash memory, CD-ROMs,

            and other magnetic or optical media.


         c. Visual Depictions: "Visual depictions" include undeveloped film and

            videotape, and data stored on computer disk or by electronic means,


            which is capable of conversion into a visual image. See 18 U.S.C. §


            2256(5).

                               PROBABLE CAUSE

      5. On June 20, 2019, South Dakota State Parole Agent Brian Green

and agents with the South Dakota Unified Narcotics Enforcement Team (UNET)

met with Juan Resales after receiving information Resales was involved in the


distribution of methamphetamine. Resales was on parole at the time for a prior


felony conviction and was being supervised by Parole Agent Green.


      6. On June 20, 2019, after meeting with Resales, Parole Agent Green


and agents with DCI conducted a search of Resales' residence on Monroe Street


in Rapid City, South Dakota.

      7. During the course of the search, officers located numerous items of


drug paraphernalia, including multiple scales, scale weights, jeweler bags, and

glass pipes, as well as $500 cash and three jeweler bags containing

methamphetamine. Law enforcement also located a locked SentrySafe within a


bedroom of the residence. Resales was asked the combination to the safe, but


claimed he did not know the combination. Contact was made with Misty

Randies, who also resided in the residence, and Randies claimed to not know the


combination to the safe.
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      8. Law enforcement forced entry inside the safe. Located inside the safe


was a Ruger, model SR40, .40 caliber semi-automatic pistol, bearing serial


number 342-45761. Law enforcement ran a check on the firearm and discovered


it had been reported stolen.


      9. Law enforcement also located notebooks in the safe that contain


names and phone numbers and what appear to law enforcement to be drug


information. Also located inside the safe were four SD Cards and 1 Flash Drive.


      10. Your affiant believes the 8D Cards and Flash Drive may contain

information about ownership or possession of the safe and who had access to its


contents.


                         LIMIT ON SCOPE OF SEARCH

      11. I submit that if during the search, agents find evidence of crimes

not set forth in this affidavit, another agent or I will seek a separate warrant.


                                  CONCLUSION

      12. Based on the foregoing, your affiant respectfully requests a warrant


for the search of the following electronic device: four (4) 3D Cards and one (1)

flash drive located inside the SentrySafe and currently in the custody of the

Rapid City Police Department for the crimes of 18 U.S.C. § 922(g) (possession of

a firearm by a prohibited person), and 21 U.S.C. § 841 (distribution of a

controlled substance).
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     Further your affiant saith not.




     Dated: ///i///^
                                           Chad Sayles
                                           Detective, Rapid City Police
                                           Department; ATF Task Force Officer


SJJBSCRIBED and SWORN to
6^r~ in my presence
     by reliable electronic means


this W^_ day of November, 2019.



DANETA WOLLMANN
U.S. MAGISTRATE JUDGE




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